           Case 2:16-cr-00374-APG-NJK Document 227 Filed 11/23/21 Page 1 of 1




 1                         UNITED STATES DISTRICT COURT
 2
                                DISTRICT OF NEVADA

 3    UNITED STATES OF AMERICA,
                                                      CASE NO: 2:16-CR-00374-APG-NJK
 4                               Plaintiff,

         vs.                                            FINDINGS OF FACT AND ORDER
 5
      KING ISAAC UMOREN,
 6
                                 Defendant.
 7

 8          Based on the November 22, 2021 hearing on defendant’s motion to continue trial,
 9   and good cause appearing, the Court finds that:

10          1.      On November 22, 2021, the Court conducted a hearing on defendant’s

     motion to continue the December 13, 2021 9:00 am trial date in this case. ECF 216.
11
            2.      After hearing the parties’ representations, the Court determined that good
12
     cause warranted a continuance of the trial date, and, after consulting with the parties, reset
13
     the trial for January 24, 2022 at 9:00 am.
14
            3.      The government requested that, in light of the trial continuance, the
15   subpoenas served on its witnesses compelling them to appear for the December 13, 2021

16   date be continued as well. The government requests that the Court make any subpoenas

17   already served effective for the January 24, 2022 trial date.

            4.      Defendant does not object to the government’s request.
18
                                                  ORDER
19
            IT IS ORDERED that all subpoenas duly served by the government for witnesses to
20
     appear at the December 13, 2021 trial in United States v. King Isaac Umoren, Case No. 2:16-
21 CR-00374-APG-NJK, are hereby continued and those witnesses remain under subpoena for

22 personal appearance on the first day of trial set to commence on January 24, 2022 at 9:00

23 am.
            IT IS SO ORDERED:
24
                    November 23, 2021
            Dated:__________________

                                                          ________________________
                                                          ANDREW P. GORDON
                                                          UNITED STATES DISTRICT JUDGE
